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 Special Litigation and Conflicts Counsel for
 Navillus Tile, Inc.

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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                                                                   x
                                                                   :
 In re:                                                            : Chapter 11
                                                                   :
 NAVILLUS TILE, INC., D/B/A NAVILLUS                               : Case No. 17-13162 (SHL)
 CONTRACTING,                                                      :
                                                                   :
                             Debtor.                               :
                                                                   :
-------------------------------------------------------------------------------
                                                                   x

    NOTICE OF HEARING ON PAVARINI McGOVERN LLC’S OBJECTION TO THE
      DEBTOR’S NOTICE OF PRESENTMENT OF AN ORDER PURSUANT TO
       BANKRUPTCY RULE 2004 AUTHORIZING ISSUANCE OF SUBPOENA

             PLEASE TAKE NOTICE that a hearing will be held on September 13, 2018 at 10:00

 a.m. (the “Hearing Date”) before the Honorable Sean H. Lane, United States Bankruptcy Judge,

 at the United States Bankruptcy Court for the Southern District of New York, One Bowling

 Green, Room 701, New York, New York 10004, or as soon thereafter as counsel can be heard, to

 consider the Objection to Motion for Order Authorizing Issuance of Subpoenas Pursuant to Rule

 2004 (the “Objection”)(Dkt. No. 478) filed by Pavarini McGovern LLC (“Pavarini”) by its

 attorneys, Schiff Hardin LLP to the Notice of Presentment filed by Navillus Tile, Inc., d/b/a

 Navillus Contracting, by its special litigation and conflicts counsel, Otterbourg P.C. (Dkt. No.

 444), whereby the Debtor is seeking the entry of an Order Pursuant to Bankruptcy Rule 2004

 Authorizing the Debtor to issue a subpoena to Pavarini.

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            PLEASE TAKE FURTHER NOTICE that the Hearing Date on the Objection may be

adjourned without further notice except as announced in open court on the Hearing Date.

Dated: New York, New York
       August 21, 2018
                                                          OTTERBOURG P.C.


                                                    By:   /s/ Melanie L. Cyganowski
                                                          Melanie L. Cyganowski
                                                          230 Park Avenue
                                                          New York, NY 10169
                                                          212.661.9100

                                                          Counsel for the Navillus Tile, Inc.,
                                                          d/b/a Navillus Contracting




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